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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


CARPROOF CORPORATION,                                Case No. 1:15-cv-07385
                               Plaintiff,

        v.                                           Hon. Samuel Der-Yeghiayan
                                                     United States District Judge
HYPERQUEST, INC.; AUDATEX
HOLDINGS, LLC; AUDATEX HOLDINGS,                     Hon. Susan E. Cox
INC.; AUDATEX NORTH AMERICA, INC.;                   United States Magistrate Judge
AUDATEX CANADA HOLDINGS, INC.;
AND SOLERA HOLDINGS, INC.,

                               Defendants.



                 STIPULATION FOR DISMISSAL WITHOUT PREJUDICE

        Plaintiff CarProof Corporation and Defendants HyperQuest, Inc., Audatex Holdings,

LLC, Audatex Holdings, Inc., Audatex North America, Inc., Audatex Canada Holdings, Inc., and

Solera Holdings, Inc. hereby stipulate, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), that this action, including claims, causes of action, and affirmative matters

asserted by or against any party herein, be dismissed without prejudice, with each party bearing

that party’s own attorney’s fees and costs.




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Dated: October 18, 2017                   CARPROOF CORPORATION


                                    By:   /s/ Todd C. Jacobs
                                          One of Their Attorneys

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Dated: October 18, 2017

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                                          AMERICA, INC.; AUDATEX CANADA
                                          HOLDINGS, INC.; and SOLERA
                                          HOLDINGS, INC.




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on October 18, 2017, the foregoing was electronically filed with the

Clerk of the Court, by which notification of such filing was electronically sent and served to all

parties via the CM/ECF system.


                                                       /s/ Todd C. Jacobs
                                                       Todd C. Jacobs




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